William Thomas Hamilton, Petitioner, v. Commissioner of Internal Revenue, RespondentHamilton v. CommissionerDocket No. 83907United States Tax Court34 T.C. 927; 1960 U.S. Tax Ct. LEXIS 84; August 31, 1960, Filed *84 Decision will be entered for the respondent.  Held, board and lodging furnished by taxpayer to another adult in return for services, either present or future, constitutes remuneration and not "support" within the meaning of section 152 (a)(9), I.R.C. 1954.  William Thomas Hamilton, pro se.W. Ralph Musgrove, Esq., for the respondent.  Kern, Judge.  KERN*927  Respondent determined a deficiency in petitioner's income tax for the year 1957 in the sum of $ 173.78 by reason of his denying a dependency exemption claimed by petitioner for one Rachel*85  Ann Oliver.  The correctness of this action is here in question.FINDINGS OF FACT.During the taxable year petitioner lived at 109 North Brookside Drive, Arlington, Virginia.  He filed an individual income tax return for that year with the district director of internal revenue at Richmond, Virginia.  In that return he reported wages received by him as a painter employed in the paint shop at the Pentagon in the total amount of $ 5,366.38.  He claimed two exemptions therein, one for himself and one for Rachel Ann Oliver, a person not related to him by blood or marriage but whose relationship to him is stated in his return to be that of "housekeeper."Rachel's presence in his house during the taxable year is explained by petitioner as follows:In 1953 petitioner felt obligated to take care of his mother and his aunt, aged 82 and 81 years, respectively.  At that time his mother was half blind and his aunt was bedridden.  Petitioner took *928  them into his home and cared for them himself without assistance.  After about a year and a half his aunt died.  Eight months later his mother broke her hip and was taken to a hospital.  By that time petitioner felt on the verge of a nervous *86  breakdown.  Petitioner's married daughter unwillingly took his mother into her home but petitioner suspected that it would only be a short time until his daughter "was going to 'dump' [his] mother back on welfare or something else" and petitioner would be forced to take his mother back into his home and care for her.  He felt that he could not do this without assistance.Sometime prior to 1957 petitioner thought of Rachel Ann Oliver as a person who might take care of his house and help in the care of his mother if and when she returned to his home as he expected.  Rachel was an old family friend who was in dire need of a home.  It was agreed between them that she would come into his home, do some light housekeeping chores until his mother came, and after his mother came would be available to care for her.  It was understood that petitioner would furnish her a place to live and would pay her expenses until his mother came and after his mother came would pay her money wages.Accordingly, Rachel lived in petitioner's home during the taxable year. She cleaned the house except for petitioner's own room, and occasionally washed petitioner's clothes. Petitioner did the marketing and did*87  most of the cooking.  Petitioner gave Rachel spending money, bought some clothes for her, and paid her medical expenses.  Petitioner was "happy to have her because it relieved [his] mind knowing if [his] mother did come back [he] would have somebody there that would be able to 'babysit' for her."Subsequent to 1957 petitioner's mother was abandoned by his daughter and was taken into petitioner's home.  Rachel immediately took up her care and petitioner began to pay Rachel money wages.OPINION.This case involves the question whether petitioner is entitled to a dependency exemption for Rachel Ann Oliver under the provisions of section 151(e), I.R.C. 1954.  The answer to this question depends on whether Rachel is a dependent of taxpayer as that term is defined in section 152(a)(9).  1 The precise question *929  is whether petitioner furnished "support" to Rachel within the meaning of the quoted section of the Internal Revenue Code.*88  The legislative history of section 152(a)(9) indicates that it was enacted for the purpose of affording a dependency exemption for a foster child or a child in the home of a taxpayer awaiting adoption.  See Leon Turnipseed, 27 T.C. 758"&gt;27 T.C. 758, 760. In such cases the support would be gratuitous and given to the recipient from motives of charity, affection, or moral obligation without thought of receiving in return a quid pro quo.In the instant case it is clear to us on the record that petitioner's primary purpose in furnishing board and lodging to Rachel during the taxable year, and making other expenditures for her benefit, was to obtain her services either immediately or in the future.  It is our opinion that what Rachel received from petitioner during the taxable year was remuneration for her services, either present or future, and was not "support" as that term is used in section 152(a)(9).  Cf. concurring opinion of Judge Withey in Leon Turnipseed, supra at 761.We therefore conclude that petitioner is not entitled to a dependency exemption for Rachel Ann Oliver during the taxable year.Decision will be entered for *89 the respondent.  Footnotes1. SEC. 152.  DEPENDENT DEFINED.(a) General Definition.  -- For purposes of this subtitle, the term "dependent" means any of the following individuals over half of whose support, for the calendar year in which the taxable year of the taxpayer begins, was received from the taxpayer (or is treated under subsection (c) as received from the taxpayer): * * * *(9) An individual (other than an individual who at any time during the taxable year was the spouse, determined without regard to section 153, of the taxpayer) who, for the taxable year of the taxpayer, has as his principal place of abode the home of the taxpayer and is a member of the taxpayer's household, * * *↩